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 1                                                                 Hon. David G. Estudillo
                                                 NOTE FOR CONSIDERATION: February 3, 2023
 2

 3

 4                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 5
                                                           NO.: 3:22 cv 05962 DGE
 6    ALEJANDRO CALDERON,
                                                           PROPOSED
 7                                  Plaintiff,
                                                           ORDER GRANTING
 8    v.                                                   DEFENDANT’S MOTION TO
                                                           DISMISS FOR FAILURE TO
 9    LINEBARGER    GOGGAN                BLAIR       &    STATE A CLAIM PURSUANT TO
      SAMPSON, LLP,                                        Fed.R.Civ.P 12(b)(6)
10
                                    Defendant.
11

12          Defendant brought its motion to dismiss this action pursuant to Fed.R.Civ.P 12(b)(6)

13 because the plaintiff’s allegations that defendant violated the Fair Debt Collection Practices

14 Act were without legal merit.

15          The court has considered defendant’s motion and plaintiff’s response. As a matter of

16 law, the obligation on which defendant sought collection is not a “debt” under 15 U.S.C.A

17 §1692a(4). Since the Fair Debt Collection Practices Act only applies to the collection of

18 “debts” as defined by that Act, plaintiff’s complaint fails to plead at least a plausible claim

19 for relief. Absent such an allegation, the complaint fails as a matter of law.

20

21
   PROPOSED ORDER GRANTING                                             KETTER SHEPPARD & JACKSON, LLP
22 MOTION TO DISMISS COMPLAINT WITH                                           50 – 116TH AVENUE SE; SUITE 201
                                                                                    BELLEVUE, WA 98004
                                                                        DIRECT: (206) 330-2054; MAIN: (206) 282-2600
   PREJUDICE PURSUANT TO
23 Fed.R.Civ.P 12(b)(6) - 1

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1           Where there are no plausible facts on which the plaintiff could file a meritorious

2 amended complaint, dismissal with prejudice is mandated. Accordingly, IT IS HEREBY

3 ORDERED that this matter be dismissed with prejudice.

4           Done in open court this ____ day of _____, 2023.

5

6
                                                  Hon. David G. Estudillo
7 PRESENTED BY:

8    KETTER SHEPPARD & JACKSON, LLP

9    /s/ Andrew D. Shafer
     Andrew D. Shafer, WSBA No. 9405
10   Attorney for Defendant LGBS
     50 - 116th Ave SE; Suite 201
11   Bellevue, WA 98004
     Direct: 206.330.2054; Main: 206.382. 2600
12   e-mail: ashafer@sksp.com

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